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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


    COMMSCOPE, INC.,                                 Civil Action No.

                 Plaintiff,                          19-15962 (JXN) (LDW)
    v.

    ROSENBERGER TECHNOLOGY                           AMENDED SCHEDULING ORDER
    KUNSHAN CO. LTD., et al.,

                 Defendants.


         THIS MATTER having come before the Court by way of an August 11, 2021 telephone

  conference before the undersigned, and the parties having submitted their respective positions on

  an extension of the case schedule via joint letter on August 6, 2021, and for good cause shown,

         IT IS, on this 11th day of August 2021, ORDERED that the Pretrial Scheduling Order

  entered January 11, 2021 (ECF No. 370), as subsequently amended, is hereby further amended for

  a FINAL time as follows:

     1. Fact discovery is extended through January 31, 2022.

     2. All affirmative expert reports shall be delivered by March 1, 2022. Any such report shall

         comport with the form and content requirements of Fed. R. Civ. P. 26(a)(2)(B).

     3. All responding expert reports shall be delivered by April 29, 2022. Any such report shall

         comport with the form and content requirements referenced above.

     4. Expert discovery, including the depositions of any expert witnesses, shall be completed on

         or before June 15, 2022.

     5. The parties shall appear for a telephonic conference before the undersigned on September

         15, 2021 at 1:30 p.m. No dispute shall be considered at that conference that is not fully
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       submitted by September 3, 2021. Dial-in information will be emailed to counsel of record

       ahead of the conference.



                                             s/ Leda Dunn Wettre
                                            Hon. Leda Dunn Wettre
                                            United States Magistrate Judge




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